             Case 1:16-cr-00776-VEC Document 372 Filed 12/01/17 Page 1 of 2




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                                                      December 1, 2017

    BY ECF

    Honorable Valerie E. Caproni
    United States District Court
    Southern District of New York
    40 Foley Square
    New York, NY 10007

                    Re: United States v. Percoco, et al., S2 16 Cr. 776 (VEC)

    Dear Judge Caproni:

            We represent Joseph Percoco in the matter referenced above. On November 1, 2017, the
    government filed a letter (Doc. 349 (“Gov’t MIL”)) making several motions in limine. One was
    a motion to preclude any evidence or argument about the merits or public benefits of the
    agreements and projects at issue in the case. We join in full the letter brief filed by Percoco’s co-
    defendant Peter Galbraith Kelly, Jr. in response to the government’s motions (with the exception
    of his arguments directed at severance) but we write separately to emphasize a crucial point for
    Percoco: the government’s motion to preclude would improperly block the jury from hearing
    evidence tending to show that Percoco did not pressure or advise public officials on the relevant
    agreements and projects. Such evidence directly addresses the second superseding indictment
    (the “Indictment” or “S2”), and hiding it from the jury would deny Percoco’s constitutional right
    to present a defense.

                                          LEGAL STANDARD
            A defendant in a criminal trial must be acquitted if there is a reasonable doubt about guilt.
    See, e.g., Jackson v. Virginia, 443 U.S. 307, 315-16 (1979). Therefore, if a piece of evidence has
    “any tendency” to make more probable a fact that could create a reasonable doubt in the mind of
    a single juror, that fact is relevant. Fed. R. Evid. 401.

                                              DISCUSSION

            The Indictment repeatedly claims that certain public officials acted to approve or advance
    various agreements and projects because they were “pressured” by Percoco (S2 ¶¶ 31a, 31b, 35a,
    35b, and 35c); accordingly, any evidence that suggests a different reason for those particular
    officials’ actions is relevant. And one alternative reason that officials would approve an
         Case 1:16-cr-00776-VEC Document 372 Filed 12/01/17 Page 2 of 2
Honorable Valerie E. Caproni
December 1, 2017
Page 2

agreement or project is that it would benefit the public. Evidence that the agreements and
projects were meritorious is therefore relevant. The defense has a right to rebut the
government’s charges, and offering evidence of a project’s merits is a simple way to do so.

         Further, the government’s motion is especially flawed because it would preclude not only
evidence that a project had merit, but even evidence that an allegedly “pressured” official
believed a project had merit. The government argues that evidence that an official believed in
the merits would be relevant—or rather, “might” be relevant —only if the defendants knew at the
time that the official held the belief. (Gov’t MIL 10.) But that argument ignores the obvious
relevance of the evidence: if an official believed a project had merit then she may not have acted
as she did due to “pressure,” but rather because she thought the project was meritorious. That in
turn suggests that the official may not have been “pressured” at all. Indeed, the projects at issue
here were key initiatives of the Cuomo administration, and a belief in the merits of those projects
are a likely motive for the officials’ actions. Thus, evidence of an official’s belief in the merits
supports Percoco’s defense that there was no bribe and no unlawful “pressure.”

        The government’s theory is that officials acted as they did due to unlawful “pressure”; the
defense is that there was no such pressure and that officials acted as they did because they
believed in the merits. The defense must be allowed to present its theory to the jury. That’s not
an “end run around Rules 401 and 403” (Gov’t MIL 10), it’s standard trial practice. The
constitutional right to present a defense includes “the right to present the defendant’s version of
the facts as well as the prosecution’s.” Washington v. Texas, 388 U.S. 14, 19 (1967).

         Moreover, there is no reason to assume that evidence of the merits or officials’ belief in
the merits is so confusing or complicated that a jury cannot understand it. It certainly is no more
confusing or complicated than the evidence that the government will likely offer describing the
projects and the “pressure” allegedly applied to public officials. A few minutes of testimony by
a public official stating that he or she approved a project because of its merits is hardly an undue
burden. Nor would it be time-consuming to elicit testimony that, for example, a particular
official did not believe a labor peace agreement was required for a project.

                                         CONCLUSION
        For the reasons set forth above, Joseph Percoco respectfully requests that the Court deny
the government’s motion in limine to exclude evidence or argument about the merits or public
benefits of the agreements or the projects at issue in the case.
                                                  Respectfully Submitted,

                                                  /s/ Barry A. Bohrer
                                                  Barry A. Bohrer
                                                  Michael L. Yaeger
                                                  Andrew D. Gladstein
                                                  Abigail F. Coster
cc: All Counsel (Via ECF)
